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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                          CASE NO. 3:17-cv-00072
                                     Plaintiffs,

                            v.                            ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                    Defendants.


           The parties seek an evidentiary ruling on the admissibility of the “Heaphy Report.” Dkts.

   1145, 1147. On August 24, 2017, the City of Charlottesville retained Hunton & Williams LLP to

   conduct an independent evaluation of the City’s handling of the “2017 protest events in

   Charlottesville” that are the subject of this litigation. Dkt. 1147, Ex. A (“The Heaphy Report,”

   or, “The Report”) at 9. The engagement letter executed by City Manager Maurice Jones

   indicated that the firm was to perform “an independent assessment on the City’s handling” of the

   events. Id. Specifically, the firm was to evaluate “the City’s compliance with applicable laws and

   regulations, as well as recommendations for potential changes in law and other actions for

   improved response to future events.” Id. The report was based on a review of “hundreds of

   thousands of documents, countless hours of video and audio recordings, . . . numerous still

   images, and . . . hundreds of witnesses.” Id at 10. In its final form, the report, entitled

   “Independent Review of the 2017 Protest Events in Charlottesville, Virginia,” contained 146

   pages of factual findings and 12 pages of recommendations. The report has come to be known

   eponymously after its primary author, Timothy Heaphy, who was until recently a partner at

   Hunton & Williams (now, Hunton Andrews Kurth).

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           Plaintiffs initiated the Court’s consideration of the admissibility of the Heaphy Report

   with a motion to preclude Defendants from introducing its contents at trial. Dkt. 1145. In that

   motion, Plaintiffs argue that, if offered as evidence of the truth of its contents, the Report is

   inadmissible hearsay. The Court agrees.

           Contrary to the insistence of Defendants League of the South, Michael Hill, and Michael

   Tubbs, Dkt. 1147, the Heaphy Report does not fall under the public records exception to the

   hearsay rule. Federal Rule of Evidence 803 creates an exception for “a record or statement of a

   public office if: . . . it sets out . . . in a civil case . . . factual findings from a legally authorized

   investigation” Fed. R. Evid. 803(8)(A)(iii) (emphasis added). Hunton & Williams LLP is not a

   public office—a fact stressed by the Report itself, which explicitly states that it represents an

   “Independent Review,” and that its authors had “not been limited or directed in any way by any

   person or agency within City government.” The Heaphy Report, ix.

           Nor is the fact that Hunton & Williams LLP was hired by Charlottesville City officials to

   create the Report sufficient to render it a public office for purposes of the rule. Such a reading

   would expand the scope of the exception beyond its commonly understood use. See e.g., In re

   September 11 Litigation, 621 F.Supp.2d 131, 155 (S.D.N.Y. 2009) (finding that the 9/11 Report

   meets the requirements of Rule 803(8)(A)(iii)’s predecessor 1 because “[i]t is the report of a

   public commission, pursuant to an Act of Congress, written following an investigation by staff

   and Commissioners appointed pursuant to that Act.”). It would also be contrary to the logic of

   the Rule, which “is premised on ‘the assumption that a public official will perform his duty’”.

   Ellis v. Int’l Playtex, Inc., 745 F.2d 292, 300 (4th Cir. 1984) (emphasis added) (quoting Fed. R.



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           Cf. Fed. R. Evid. 803 committee notes on rules – 2011 amendment (noting that relevant
   changes “are intended to be stylistic only. There is no intent to change any result in any ruling on
   evidence admissibility.”).
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   Evid. 803(8) advisory committee’s note to 1972 proposed rules). See also Jones v. Ford Motor

   Co., 204 F.App’x 280, 284 (4th Cir. 2006) (same).

          Nor have the Defendants offered evidence that the findings of the Heaphy Report were

   adopted by the City. Cf. In re September 11 Litigation, 621 F.Supp.2d at 155 (concluding that

   interim findings of the 9/11 Commission staff, in contrast to the Commission’s final report, do

   not satisfy the criteria of the precursor to Rule 803(8)(A)(iii) because they were “the findings of

   Commission staff, and not a public office or agency.”).

          Perhaps recognizing the inadequacy of Rule 803 to except the Heaphy Report from the

   general rule against hearsay, Defendants Jason Kessler, Nathan Damigo, and Identity Evropa

   propose that the Report may be admissible as evidence of Defendants’ state of mind. Dkt. 1221

   at 1. Specifically, these defendants argue that the Report may be used to bolster the credibility of

   their defense theory: that their protest preparations, including their communications, are

   attributable to a perceived threat from counter-protestors. Id. at 2.

          Because the Heaphy Report is inadmissible hearsay if used as substantive evidence of the

   truth of its contents, the motion of Defendants League of the South, Michael Hill, and Michael

   Tubbs for an order holding that the Heaphy Report is admissible in its entirety, Dkt. 1147, will

   be denied. But without prejudice to resubmission consistent with this ruling. Resubmission shall

   be made in the form of a document containing the specific excerpts Defendants wish to admit,

   along with the non-hearsay purpose for which they seek to use it. The resubmission should also

   respond to any other evidentiary objections Plaintiffs have raised, including Fed. R. Evid. 403(b)

   objections. Plaintiffs will be afforded an opportunity to respond, explaining why the proposed

   excerpt is hearsay or otherwise should be found inadmissible.




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           Plaintiffs also seek a ruling that any testimony from Timothy Heaphy himself would be

   inadmissible hearsay. Dkt. 1145. However, neither party has identified for the Court the subject

   of any such testimony by Mr. Heaphy with any specificity—rather, Plaintiffs note that they

   “anticipate that [his] testimony will relate to the contents and statements made in the Report.” Id.

   at 11. Since Plaintiffs’ arguments concerning the testimony of Mr. Heaphy are at present

   premature and derivative of arguments concerning the Report itself, the Court issues no ruling on

   the admissibility of testimony from Mr. Heaphy at this time. Any specific arguments concerning

   admissibility of potential testimony by Mr. Heaphy may be raised in the context of the briefing

   schedule permitted below. In any event, Plaintiffs remain free to object at trial should Defendants

   solicit inadmissible testimony from Mr. Heaphy.

           Plaintiffs’ motion, Dkt. 1145, is GRANTED in part, without prejudice to resubmission

   by Defendants. Defendants’ motion for an order holding that the Heaphy Report is admissible in

   its entirety, Dkt. 1147, is DENIED without prejudice to such resubmission. Defendants may file

   any such re-submission by October 19 at 5:00 p.m.; and Plaintiffs may reply by October 21 at

   noon.

           The remaining requests for relief in Dkt. 1147 are not resolved by this Order and the

   motion shall remain pending.

           It is so ORDERED.

           The Clerk of Court is directed to send a copy of this Order to all counsel of record.




                                                  Dated: October 15, 2021




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